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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


United States of America,                              Criminal No. 17-64 (DWF/KMM)

                     Plaintiff,

v.                                                                               ORDER

Edward S. Adams,

                     Defendant.


       This matter is before the Court on the parties’ Joint Motion to Continue Trial and

accompanying Statement of Facts in Support of Exclusion of Time under Speedy Trial

Act (Doc. Nos. [167] & [168]).

       Pursuant to 18 U.S.C. § 3161(h)(7)(A), the Court finds that the ends of justice

served by the granting of such continuance outweigh the best interest of the public and

Mr. Adams in a speedy trial. This finding is based on the facts set forth in the joint

motion and the accompanying statement of facts.

       Accordingly, IT IS HEREBY ORDERED that:

       1.     The Joint Motion to Continue Trial (Doc. No. [167]) is GRANTED. The

trial in this matter shall be held on January 28, 2019, at 9:00 a.m., in Courtroom 7C, 7th

Floor, Warren E. Burger Federal Building and United States Courthouse, 316 North

Robert Street, St. Paul, Minnesota.

       2.     The pretrial date is yet to be determined.
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      3.     Counsel must adhere to the following schedule regarding the submission of

trial documents:

             a.     All trial documents, including trial briefs, motions in limine,

      voir dire questions, and proposed Jury Instructions shall be submitted,

      pursuant to the Electronic Case Filing Procedures for the District of

      Minnesota/Criminal and according to the directives of the Honorable

      Donovan W. Frank, no later than 4:30 p.m. on January 15, 2019;

             b.     By the same date, proposed exhibit and witness lists, Jury

      Instructions, and voir dire questions (in Word or WordPerfect format) shall

      be e-mailed to the chambers e-mail box

      (Frank_Chambers@mnd.uscourts.gov); and

             c.     By the same date, counsel for the prosecution shall submit a

      copy of the indictment or information (in Word or WordPerfect format) to

      the chambers e-mail box. (Frank_chambers@mnd.uscourts.gov).

      4.     Two courtesy copies of all trial documents, and one courtesy copy of all

trial exhibits, shall be contemporaneously provided to the Court.

       5.    The period from October 9, 2018, through January 28, 2019, shall be

excluded from the Speedy Trial Act computations in this case.

Dated: July 6th, 2018                    s/Donovan W. Frank
                                         DONOVAN W. FRANK
                                         United States District Judge




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